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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF ILLINOIS

Case No. 24-40024

Original Chapter 13 Plan
Amended Plan Number 2
(Changes must be underlined)
CO Limited Service Applicable

In re:
KEVIN W THIES
MICHELLE CLELAND-THIES

Ne ee es

Debtor(s)
CHAPTER 13 PLAN AND NOTICE OF TIME TO OBJECT

CHAPTER 13 PROCEDURES MANUAL The provisions of the Court’s Chapter 13 Procedures Manual are incorporated herein by
reference and made part of this Plan. This manual is available at www. ilsb.uscourts. gov.

YOUR RIGHTS WILL BE AFFECTED You should read this plan carefully and discuss it with your attorney. Anyone opposing any
provision of this Plan as set forth below must file a timely written objection. This Plan may be confirmed without further notice
unless written objection is filed and served within 21 days after the conclusion of the 11 U.S.C. § 341(a) Meeting of Creditors.
Objections to an amended Plan must be filed and served within 21 days after the date of filing of the amended Plan.

THIS PLAN DOES NOT ALLOW CLAIMS A Creditor must file a timely Proof of Claim to receive distribution as set forth in this
Plan. Even if the Plan provides for payment, no payment will be made unless a Proof of Claim is timely filed.

If the debtor is not represented by counsel, any party filing a proof of claim must serve the debtor with notice that the claim has been

filed and with a copy of the claim. Any pleadings that are filed in relation to the claim also must be served on the debtor.

IF A TIMELY CLAIM IS NOT FILED, AS PERMITTED BY FED. R. BANKR: P. .3002(c);.3004-OR- FURTHER. ORDER OF = ~. :
THIS COURT, ALL AMOUNTS RECEIVED BY THE TRUSTEE FOR THE UNFILED ‘CLAIM: WILL BE: ‘DISBURSED TO". wert

OTHER CREDITORS PURSUANT TO THE ORDER OF DISTRIBUTION... °° = 20 Dee OS Oe.

‘If-you have a secured claim, this Plan may:void or modify your lien if you:do not object:to'the Plan. « =:::~

‘The following matters may be of particular importance. Debtor(s) must check one box on ‘each line to state. whether-or not the-

‘plan includes any or all of the following items. If an item is checked as: s “Not Included” “or” Jf: both boxes“are. checked; the:
_ provision will be void if set out later in the plan. © rs nie pint arisieb io rea sien

‘| 1. | A limit on the amount ofa secured claim, set out in Sections 3E, 3F, or 4B, which -

ExiIncluded::;:20.Not. Included
may result in a partial payment or no payment at all to the secured creditor. -. Sopsetim ape nes pay

Il. | Avoidance of a judicial lien or nonpossessory, non-purchase money security... ~ -

| I | Nonstandard provisions set out in Section 24. EL Included. .XI-Not.Included

1. PAYMENTS

-| Included -:+-[] Not-Included -}.:. 0.2 runic +

interest, Set out in Section 9 ciete de ee the foo vase

The Debtor submits to the Standing Chapter 13 Trustee the following.regular:-periodic plan payments to.be received within the. ++. --

applicable commitment period of the Plan. These payments represent the Debtor(s)” anticipated projected disposable:income. ‘The «

VST SEG Tiree re re, ores,

payment schedule is as follows:

Start Month # End Month # - Monthly Payment’.
L 12 | 8268800
3 4 $3,018.00 Bn
5 60 $2,615.00

Wage Order Required: (1 Yes K]No OlePay [XI] TFS (Must list employer information)
The Debtor from whose check the payment is deducted: Kevin Thies-- - -- ~- De

Employer’s name, address, city, state, phone: Heartland Mechanical Contractors, S11 Health Dept Rd, Murphysboro, IL
63966

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IMPORTANT PAYMENT INFORMATION

NOTE: The regular periodic plan payments to the Trustee must commence within 30 days of the filing
of the petition. The Debtor(s) must make direct payments to the Trustee by money order or cashier’s
check until the employer deduction begins. Include your name and case number on your money order
or cashier’s check. Contact the Trustee for the payment mailing address.

. In addition, the Debtor(s) may have to pay into their Plan additional non-regular payments as a result
of tax refunds (See, Paragraph 19) or if they receive any other non-regular income, such as lawsuit

proceeds, etc. (See, Paragraph 20).

ORDER OF DISTRIBUTION
--The following order-of:priority shall be utilized with respect to all payments received under the Plan terms:

1. The Trustee's fees for each receipt, ‘the percentage of which i is fixed by the U. S. Trustee;

“cor-7~2.--~_ Any unpaid portion of the filing fee;
3. Notice fees equal to $.50 per page of the Plan, multiplied by the number of ereditors listed-on the debtor” S:

mailing matrix;

4 Ongoing mortgage payments on real estate;, Sos
5. Allowed administrative expenses;, : heel
76:2... Attorney’s fees and other secured creditors as set forth in the Chapter 13 Procedures Manual;
7 wee ils UE titre th meeoegmrtrcnnse
8
9

Priority creditors as set forth in the Plan;
Any special class of unsecured creditors as set forth i in the Plan; and.

General unsecured creditors.

..2. - ADMINISTRATIVE EXPENSES
Administrative Creditor Estimated Amount:of Claim ~

ATTORNEY’S FEES cn ypp apmeayy eters

Attorney name: JAY B. HOWD, BANKRUPTCY CLINIC, PC

Flat fee through Plan $3,000.00 OR we (aah Ind TY iar 3 fBE ne

~" E] The Debtor’s counsel elects to be paid on an hourly basis and will file a fee.application(s) for approval offees. ‘No fees.shall ..
be disbursed until a fee application is approved by the Court. However, the Trustee shall-reserve a total of’ T8455 500. 00 for payment =
toward such application, pursuant to the Order of Distribution and the Chapter 13 Procedures Manual. wes bene

~The. attorney: for the debtor(s) shall be paid attorney’s fees as specified in the plan and according to the Court’s Chapter 13.-

sedis Mantas Contmmation of this-plan-does-not+ Eremove-the-attorney-for- -the-debtor-as-attorney-of record-in-this-ease.—Lhe=
-~~-~-+~ -attorney-for-the-debtor-shall- remain- counsel-of-record -until-the-earlier--of either- closing-of- the-case -or- the- entry- of-an -order-~-

allowing the attorney for the debtor to withdraw.

3. REAL ESTATE —- CURING DEFAULTS AND MAINTAINING PAYMENTS

Post-petition payments shall be made by the Trustee if (i) a pre-petition default exists; (ii) a post-petition, pre-confirmation
default occurs; or (iii) .a_post-confirmation default_arises that cannot be cured by the Debtor within six. months. Otherwise, __|
post-petition payments may be made directly by the Debtor to the creditor. Where the Trustee is disbursing the ongoing
payments, the first mortgage payment to be disbursed will be that which becomes due in the second month after the month in
which the petition is filed. For example, if the petition was filed in January, the first mortgage payment is due in March. In this

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situation, a mortgage holder should file a “pre-petition” claim that includes both the pre-petition arrearage and all post-petition
contractual payments not disbursed by the Trustee as set forth above. Similarly, a Debtor must include the amount of any such
payment(s) in the pre-petition arrearage calculation. (See the Chapter 13 Procedures Manual for examples and further

instruction.)

For ongoing payments brought in due to a post-petition default, payments by the Trustee are to begin on the first due date after the .

5
month in which the.amended or modified Plan is filed, or as otherwise ordered by the Court. All payments received from the
Trustee must be credited by the creditor as the Plan directs. Pursuant to 11 U.S.C. § 524(i), ongoing post-petition mortgage
payments tendered under the Plan by either the Trustee or the Debtor shall be credited by the holder and/or servicer of said claim
only to such payments and may not be used for any other purpose without prior approval of the Court. Pursuant to 11 U.S.C. §

524(i), payments for pre-petition mortgage arrearages tendered under the Plan by the Trustee shall be credited by the holder .

and/or servicer of said claim only to such arrearages and may not be used for any other purpose without prior Court approval

The Chapter 13 Procedures Manual sets forth the terms concerning notice of payment changes; notice of fees, expenses and
charges; form and content of said notice; determination of fees, expenses or charges; notice of final cure payment; response to

notice of final cure payment; determination of final cure and payment; and the consequences of the failure to notify. Ifa conflict

arises between the terms set forth in the Chapter 13 Procedures Manual and any bankruptcy rule, the federal and local bankruptcy

rule(s) shall supersede the Manual.

A) Payment of ongoing post-petition mortgage payments by the X Debtor(s) or Co-Obligor (check one)

is as follows:

Creditor Lien Property Address Estimated Payment Payment
No. Monthly Payment Start Date End Date
“B) Payment of ongoing post-petition mortgage payments by the Trustee is.as followS:... 205 --.1 ele een! -
Estimated
:, : ‘ Payment Start | Payment | _.
a Creditor Lien Property Address Monthly ~ Date End ‘Date 1"
No. Payment
Freedom Mortgage 1 .2015 Union School Rd $1,002.17 = March 2024.. | Through -:-
Corp Ava, IL 62907 Plan--*
be Duration

The. estimated monthly, payment, amount referenced in Part 3A and 3B above may. change based: upon Proof(s).of Claim™ |... 000.7

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C) Payment of pre-petition arrearages; first post-petition (“limbo”) payment; and/or post-petition arrearages, arising from _
add default in mortgage payments that were being made directly by the Debtor to the creditor, are as follows:

Lien Type of
. No. , : . Payment (i.e.
Creditor Property Address . Estimated Claim Limbo, Pre or
. Post-petition)
Freedom Mortgage Corp. 1 2015 Union Schoo! Rd., $1,002.17 Limbo
Ava, IL 62907 :
Freedom Mortgage 1 2015 Union School Rd., 36,085.46 Pre-petition
Ava, IL 62907 arrearage
Freedom Mortgage Corp. 1 2015 Union School Rd., 5200.00 Post-petition
Ava, IL 62907 fees
D) Real Estate Secured Claims which will be paid in full:
Lien
Creditor No | | Property Address Estimated Claim | Interest Rate

EHE-FOLLOWING PLAN PROVISION WILL BE EFFECTI VE ONLY IF THERE 4S / A CHECK -IN-THE BOX TEELED - 2. --:-

: “INCLUDED” IN SECTION I ABOVE. POLL eet COREL Y rong

DR Residential Real Estate Secured Claims to which 11 U.S.C. § 506 Valuation is Applicable.(“Lien Stripping”)--- DS ne se

The -Debtor will file a separate adversary proceeding to avoid the following wholly unsecured mortgages. Claims ‘listed ‘inthis’

“subsection are debts secured by real estate on the Debtor’s primary residence. These-claims.are‘being ‘modified-pursuant-to 1]--U.S.Cz ------ »

*§ 1322(b)(2). The real estate mortgage in question is not protected by the anti-modification provision:of Section-1322(b)(2):either =: -:~

’ because the value of the real estate minus any priority liens indicates no value to.support:a secured.claim:under-11:U.S:C. § -506(a)-or

-~--~---~ that-the-loan has-matured-pursuant-to- H-U.S-C.-§-1322(e)- (The appropriate-section-is-indicated below.) That-pursuant to- 11 U:S:C;

"{325(a)(5)(B) the creditor will continue to retain the lien on the residential real estate until the Debtors receive-a. discharge :pursuant'to::=.":
‘Section 1328 of the Bankruptcy Code. Upon the entry of the order of discharge the lien is-voided:.These claims will be paid eitherthe |

value of the secured property as stated below or the secured amount of that:claim:as listed-on the Proof:-of:Claim; whicheveris=less;" ~: <-->

-with interest as provided below. Any portion of a claim that exceeds ‘the value:of the secured. d-property % will:be-treated as:an-‘unsecured:- 3. -:.

Claim without-the-necessity ofan-objection, ttt et

Sy : Value of Real Estimated Code Section
, . Property address Estate After Estimated |. Interest Relied Upon
Creditor : to ee _ vo Monthly >
Priority Liens are Claim Rate Pavment’ ”: [1322(b)(2) or | _!
Deducted ay ..1322(c)]

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THE FOLLOWING PLAN PROVISION WILL BE EFFECTIVE ONLY IF THERE IS A CHECK IN THE BOX TITLED
“INCLUDED” IN SECTION I ABOVE.
F) Real Estate Secured Claims to which 11 U.S.C. § 506 Valuation is Applicable (“Cram Down Claims”):

Claims listed in this subsection are debts secured by real estate that is mot the Debtor’s primary residence. These claims will be paid
either the value of the secured property as stated below or the secured amount of that claim as listed on the Proof-of Claim, whichever
is less, with interest as provided below.. Any portion of a claim that exceeds the value of the secured property will be treated as an

unsecured claim without the necessity of an objection.

Value (after Estimated
Creditor Property Address deducting all | Estimated Claim | Interest Rate Monthly
senior liens) Payment

G) Real Estate Property Tax Claims shall be paid as follows: To the extent that taxes become due during the Plan, they wil] be
paid directly by the Debtor or pursuant to any applicable note and mortgage on the property. Real estate taxes that were due when the

bankruptcy was filed will not be cured or paid by the Trustee under this Plan. Rather, the Debtor(s) m need.to.make ” separate. . iatl vee ee
- arrangements to pay these unpaid taxes directly to the party to whom they-are owed. SUnMgInD Moth ON ruriv getter ceric iscsi

A, SECURED CLAIMS AND VALUATION’ ‘OF COLLATERAL UNDER IT U.S. C SECTION 506-.: “US DEL SIs

vay Secured Claims to which 11 U.S.C. § 506 Valuation is NOT Applicable (“910 Claims”): }:

‘Claims listed in this subsection are debts secured by a purchase-money security interest in a-personal motor vehicle -acquired for-the:=::. --
~personal: ‘use of the debtor, incurred within the 910 days preceding the. date of. the :filing :of the: wine thee or-debts’ secured dy ae

bankruptcy. These claims will be paid in full with interest as provided below:

Estimated __| Interest Estimated
Creditor Collateral Claitn * Rate Monthly Payment

“THE. FOLLOWING PLAN PROVISION WILL BE EFFECTIVE. ONLY.’ THERE AS'A “CHECK IN" THE BOX TITLED! 2 Fie eee
INCLUDED” IN SECTION I ABOVE, . wee Sr ae SBOE I EEISIOI.L

B) Secured Claims to which U.S.C. § 506 Valuation is Applicable (“Cram Down Claims”): -

Claims listed in this subsection are debts secured by personal property or described in the immediately preceding :paragrarh:of this:-- Ln,
—__+Plan;These-claims-will-be-paid_either-the-value-of the-secured_property_as-stated-below-or-the-secured-amount-of-that-claim-as-listed-----
on-the Proof of Claim,-whichever.isless,-with interest.as -provided_below...Any-portion.ofa.claim-that.exceeds.the:value-ofthe:secured...

_Property w will, be treated as an unsecured. claim without the necessity of an objection. cele. ete wl Dette te.

For secured claims of governmental units, unless otherwise ordered by the court, the value of a secured claim listed in a proof of
claim filed in accordance with the Bankruptcy Rules controls over any contrary amount listed below.

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Estimated

Creditor Collateral Value Estimated Claim | Interest Rate Monthly
Payment

EMVLP 2017 Chevy Silverado _| $27,073.00 12,789,5 75% | $256.28

LLC/State Farm
Bank

First National 2008 Ford F250 $9,075.00 $8,361.61 7.5% $167.55
Bank of Ava (lockedengine)($3,750), . .

: plumbing and pipe
fitting tools and
equipment ($4,325)
2003 Yamaha Kodiak
($500), 2004 Polaris.

($3500)

First National 2008 Ford F250 (locked | $713.39 $1,937.91 75% 814,29 -
Bank of Ava engine) ($3,750).
plumbing tools and
equipment ($4.325),
2003 Yamaha Kodiak.
($500), 2004 Polaris.

_{ ($500)

. C) Surrender of Property:

This section allows for the surrender of collateral.
collateral. If the creditor believes that it may. be entitled toa deficiency claim under applicable Jaw; then the secured creditor must file |

‘shall file an amended Proof of Claim indicating the unsecured deficiency balance (if any), unless an extension is approved by. ~~
‘the Court. Any objection to a timely filed deficiency claim shall be filed within 45 days of-the-date-the-deficiency claim -was filed, or. ..:--.-
ithé’same is deemed allowed. Absent leave of Court, deficiency claims ‘filed outside: of this-90-day period (or-any extension granted by :-~ -

ithe Court) are deemed disallowed without action by any party. Upon entry of the Order lifting:the automatic’stay, the Debtor must «~ ~~
‘reasonably cooperate with the creditor in either making the collateral -available- for “pickup « ‘or in- supplying: ‘information of the’ -:2:2:

‘collateral’s last known location.
‘C1 The debtor(s) elect to surrender to each creditor listed below the collateral that-secured the creditor’s claim: The debtor(s).request

‘that upon confirmation of this plan the stay under.11 U.S.C. § 362(a) be terminated as to the collateral. al-only. and that the stay ~-.:- -

-under § 1301 be terminated in all respects.

. gaa elma Monies Previously .
_ - Creditor a _ Collateral Surrendered ~~ Baid by the Trustee
5. SEPARATELY CLASSIFIED CLAIMS Ue ATI erry
ede Collateral Secured/ Estimated Interest a :
Creditor Unsecured Claim Rate Paid By

6 = EXECUTORY CONTRACTS AND UNEXPIRED LEASES

All executory contracts and unexpired leases are rejected, except the following which are assumed:

A) Payment of executory contracts and unexpired leases directly by the Debtor is as follows:

# of

Creditor Collateral Monthly Payment Payments
Remaining

The Debtor surrenders .any :and all right, title and ‘interest.in.the following

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B) Payment of arrearages by the Trustee is as follows:

Estimated

Address Est. Claim | Int. Rate Monthly

Creditor Collateral
Payment,

Since the claims in Part 3E, 3F, 4A, 4B and 6B are based on the allowed claim amount, the estimated monthly payment in those

7, PRIORITY CLAIMS

A) Domestic Support Obligations:

The Debtor is required to pay all post-petition domestic support obligations directly to the holder of the claim and not through the .
Chapter 13 Plan.

1. Name of Debtor owing a domestic support obligation: : -
. Is DSO
Ongoing |

[Y or N]

ae

Estimated Amount to be | State Agency

Government Entity Estimated Arrearages paid Case Number

S ‘C) ~=.Secured Income Tax Claims and Priority Claims Under 11 U.S.C.§ 507; 00 a ee Dee eee ee

Alla allowed secured tax obligations shall be paid in full by the Trustee as set forth herein.- ‘All allowed d priority ¢ claims: shall: ‘be he paid *:
in full by the Trustee as set forth herein, unless the creditor agrees otherwise: ~~~ *: ~

_ DSO Claimant Name Address, City, State and ZIP .. Estimated Arrearages Oblig ationg fe :

S ~B) ‘Domestic Support Obligations Assigned to or-Owed to a Governmental‘Unit:Under 1 U:S:C. -§°507(a)(1)(B)+ Toisi dis Diva

Créditor 7 Priority OR Secured Estimated Claim Interest Rate
(Must list the.classification) Amount (If Secured) -. |... +. --- ene.
‘Tllinois Dept. of Revenue Priority _ | $13,039.10 0%” °
|IRS— Priority.____._..... | $30,596.12 40% 2282. | -
— |-Ulinois-Dept..of- Revenue...’ __......| Secured ... “s we ee ef $1,687.21 7M. ef
8. LONG-TERM DEBTS PAID DIRECTLY BY THE DEBTOR OR CO-DEBTOR TO THE CREDITOR
Is there a . Number of
Creditor Collateral Co-Debtor? [Y or Estimated Monthly Payments
. Claim Amount Payment .
_ | | Remaining

_NI

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THE FOLLOWING PLAN PROVISION WILL BE EFFECTIVE ONLY IF THERE IS A CHECK IN THE BOX TITLED
“INCLUDED” IN SECTION II ABOVE.

9. AVOIDANCE OF LIENS:

The Debtor will file a separate motion to avoid the following non-purchase money security interests, judicial liens, or other liens that
impair exemptions. Until such time as a motion is filed, the Trustee shall make no disbursements thereon. Upon entry of an order

avoiding the lien, the Trustee shall treat said claims as unsecured and pay them pursuant to paragraph 10.

Creditor , , . Collateral Amount of Lien to be
: Avoided

10. UNSECURED CLAIMS:
The minimum amount the Debtor must pay to all classes of allowed non-priority unsecured claims is EK! $0.00 (Form]22C with

Turner calculation) or 1 100%

“1: POST PETITION CLAIMS :
- Post-petition. claims- shall not be paid by the Trustee unless the Debtor amends the Plan to specifically address such claims: Absent ”-

“such an amendment, the Trustee shall not disburse any monies on said claims and_these. debts willnot be discharged. - bee eet ened

(12.- LIEN RETENTION sohrptteetenmimanaterer ce
Wie respect to each allowed secured claim to be paid i in full through the Plan, ‘other than. mortgage. or long-term debts, the holder. of.

such claim shall retain the lien securing its claim until the earlier.of.(i)-the: “payment of “the: ‘underlying, debt. determined: under
bankruptcy la laws ¢ or or (it) entry of the discharge order under 11 U.S.C. § 1328. - SU RMT Ng isnt oy, Geum ner oo ee.

‘no

13. PROOF OF LIEN PERFECTION 20 vnn DEeerie
Any individual and/or entity filing a secured claim must provide the Chapter 13- Trustee, s the Debtor; and Debtor’ s.counsel with: progks *

“OP lien: perfection at thetime its claim is filed and shall attach such documentation to:its Proof of Claim: pursuant to ‘Bankruptcy Rule «
3001."

14, VESTING OF PROPERTY OF THE ESTATE Ps
‘Only property of the estate listed on an original or amended Schedule A/B as of the date. of. ‘confirmation shall revest: in.the.Debtor.:

“tipoi’ confirmation of the Debtor’s Plan. All undisclosed, pre-petition property ‘shall vest-in-the Trustee and become property: of the.:.
estate. Property acquired by the Debtor post-petition shall vest in the Trustee and become property’ of the estate as-contemplated by °- ~
~~" “TT US.C. Section 1306, subject to the dollar limitations and procedures. set forth in Paragraph 20, -Assets: Acquired -Post-Petition, =<:
-bélow. (This includes, for example, property previously disclosed, such as a personal injury.claim, .worker’s compensation .claim, .:
inheritance or class action, but liquidated and/or acquired post-petition.) F Furthermore, the Debtor shall i promptly notify th the Trustee: of ~

the. acquisition of any right and/or interest in such property. Sorters nuns ot

15, PAYMENT NOTICES
Creditors in Section 3 of this Plan (whose rights are not being modified) and<in- Section: 6: ‘ofthis :Plan: ‘(Assumed Executory:

~Contracts/Unexpired: Leases) may continue to mail customary notices or coupons to the Debtor, or: Trustee notwithstanding-the-* ~:~

‘automatic stay.

16. OBJECTIONS TO CLAIMS . Se toe
“Absent leave of Court any objection to-a timely filed general-nsecured claim shall be filed within 45 days following: the expiration of ———

-thié=claims-bar:date-for-that-claim:~Objections-to-secured-and/or-amended-claims-shall-be: ‘filed within: -45- de $= “fromthe: =applicable:
_¢laims-bar. date or within.forty-five:45-days from. the date of filing of the claim, whichever‘is later... 3) svsst revo ts mers.

- 17, STAY RELIEF
Notwithstanding any provision contained herein to the contrary, distribution to a secured creditor(s) who obtains relief from the

automatic stay will terminate immediately upon entry of an Order lifting or terminating the stay, except to the extent that an unsecured
deficiency claim is subsequently filed and allowed. Absent an Order of the Court, relief from the automatic stay shall also result in

the Trustee ceasing distribution to all junior lien holders. =~ BS OB

18 DEBTOR REFUNDS
Upon written request of the Debtor or Debtor(s)’ counsel, the Trustee is authorized to refund to the Debtor, without Court approval,

: Sh MISCELLANEOUS TRUSTEE DISBURSEMENT PROCEDURES |

By: “signing this-Plan-below,-the-Debtor-and_the-Debtor’s-counsel-certify_that-the-Plan-is- the- Jocal- form. nm-authorizedb byt the-Court-and——.—

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: any erroneous overpayment of regular “monthly payments received during the term of the Plan that have not been previously
disbursed.

19. DEBTOR(S)’? DUTIES WITH REGARD TO POST-PETITION TAX RETURNS AND TAX REFUNDS

By April 30 of each year, the Debtor(s) shall provide the Trustee with a true and complete signed copy of their state and federal
income tax return(s) for the preceding year. If an extension is filed, or the Debtor(s) are not required to file a return, by April 30" of
each year, the Debtor(s) shall provide the Trustee with an executed copy of the \extension, or Affidavit stating they are not required to
file said return(s). The Trustee shall compute the amount, if any, of the Debtor(s)’ refund that must be turned over and send the
Debtor(s) a letter notifying them of this amount. This amount is calculated as follows: any amount (excluding that received before the
commencement of the case) that exceeds (i) monies credited for Earned

Income Credit and/or Child Tax Credit; (ii) $750.00 per Debtor; and (iii) after deductions made for monies owed and/or incurred for
reasonable tax preparation fees, provided they are disclosed to the Trustee at the time of the submission of the tax. returns..

These additional proceeds shall increase the minimum required distribution to the Debtor(s)' allowed general unsecured creditors as
set forth in Paragraph 10 and the Trustee is authorized to increase the base amount of the Debtor(s)’ Plan accordingly. The distribution
of these proceeds shall be made in accordance with Paragraph 1, Order of Distribution. Said funds must be tendered to the Trustee
within 30 days of the date of said letter. Failure of the Debtor(s) to comply with any of the time parameters set forth herein will result
in the dismissal of the case without further notice or hearing upon the Trustee's certification of said default. Notwithstanding the
foregoing, nothing contained herein shall prohibit the Debtor(s) from timely filing a Motion with the Court, seeking authorization to

retain all or any portion of such future tax refunds upon a showing of substantial need.

:: 20; ASSETS ACQUIRED POST- PETITION |

+ Should-the.debtor(s) acquire or receive any interest in property; outside of their previously disclosed normal financial affairs, with-a--
’ fair market value exceeding $2,000.00, AND/OR any interest in property with an undetermined; unliquidated, or unknown. value, -they.: . °

shall immediately file the appropriate amended schedule(s) to disclose the acquisition or receipt: of the same. Examples of such

‘property include, but are not limited to, any financial recovery to which debtor(s) is or becomes: entitled to receive during the

“pendency--of the-Chapter 13 -plan,-claims for personal injury, worker’s compensation employment/back-pay, worker’s compensation

- “claims, inheritance, life insurance proceeds, bonuses, or gifts. Upon the filing of.said amended schedules, the Chapter 13 Trustee.or ° .
-other party in interest shall have sixty (60) days to file a motion for.turnover of the-value of the property at issue. Debtor(s), in turn,” 0..."

may file an objection to such motion within twenty-one (21) days seeking leave to retain the value of such property. In the absence of

“such motion, or if the motion is denied, the value of the property will be deemed to have been. abandoned by the-bankruptcy-estate.. 2° =
: The value of any interest in property acquired by Debtor(s) that is subject-to ‘this Paragraph, whether-or:not disclosed:on:amended

“gchedule(s), shall constitute a payment under the plan due upon Debtor(s)’ interest accruing unless or until the interestis abandoned ~ se
by the Trustee pursuant to the procedures established by this Paragraph. The-value of any property-ordered to-be. turned. oversto the: ~~.
Trustee shall be paid into the debtor(s)’ plan as a payment under the plan, inclusive of trustee fees.:.The Trustee is hereby authorized ~~

to increase the plan base and minimum required distribution to the Debtor(s)' -allowed general unsecured creditors ‘asset: forth -in :=
“Paragraph 10 consistent with the provisions of this Paragraph. The .Trustee shall. thereafter disburse. the value of property. received... .

“No 3 ‘payment in an amount less than $15.00 shall be distributed by the Trustee to. any. creditor..
“Bankruptcy Rule 3010(b) shall be paid whenever the accumulation aggregates § $15. 00. Any funds remaining. shall. be.distributed with ..

“the final payment.

After satisfaction of all allowed secured and priority claims being paid by.the Trustee, the Trustee .is.directed to distribute the .

“remaining proceeds of the debtor’s plan base to those creditors whose claims have:been allowed; but not'to exceed 100-percent of the «

ainount of any claim.

22, PLAN NOT ALTERED FROM LOCAL FORM

' Funds not distributed because of -

= contains no. non-standard. provisions. other: than: those-in- n-Paragraph- 24:

23. . REASON(S) j F FOR. AMENDMENT (S)
Set forth a brief, concise statement of the reason(s) for the amendment(s). In addition, if there is a substantial change to the

proposed Plan payments, or if the Trustee so requests, file an amended Schedule I & J.

Amended Plan to correct mortgage payment, arrearage amount, and pay post-petition fees in Para. 3B and C based on claims
filed.. Amended Para.3B to add Polaris as collateral. Updated amount owed to State Farmi Bank based on claim filéd. Payments ~
lowered beginning in June 2024 to $2,615.00. Amended Schedule D and Form 122C are being filed with this amended plan.

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THE FOLLOWING PLAN PROVISION WILL BE EFFECTIVE ONLY IF THERE IS A CHECK IN THE BOX TITLED
“INCLUDED” IN SECTION I ABOVE.

24, NONSTANDARD PLAN PROVISIONS

Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not
otherwise included in the Local Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.

Signatures

/s/ Jay B. Howd Date: May 16, 2024

Signature of Attorney for Debtor(s)

/s/Kevin W. Thies Date: May 16, 2024
/s/ Michelle Cleland-Thies Date: May 16, 2024

Signature(s). of Debtor(s) (required if not t represented by
an 1 attorney; otherwise optional) »

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CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and correct copy of the foregoing document was served
upon the following concerned individuals and all parties listed on the previously filed mailing matrix, including |
secured creditors, and all those who filed a claim in this case and/or entered their appearance in this case via US

Mail on May 16, 2024, unless served via electronically.
Served Electronically:

United States Trustee

Russell C. Simon, Chapter 13 Trustee

/s/ Donna
Bankruptcy Clinic, PC _

